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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        April 03, 2024
                    UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

ANNADARIA JOHNSON,        §
                          §
     Plaintiff,           §
                          §
VS.                       §                           3:24-cv-17
                          §
PHH MORTGAGE CORPORATION, §
                          §
     Defendant.           §

                                  ORDER

      The court has been advised that the parties have reached a settlement.

Dkt. 9. Accordingly, the court orders that all claims against the defendants

in the above-styled case are dismissed with prejudice to refiling, unless a

party represents in a writing filed with the court on or before Friday, June 7,

2024, that the settlement could not be completely documented. If the parties

wish the case disposed of on an agreed final judgment rather than this order,

it must be submitted to the court on or before Friday, June 7, 2024.

      Signed on Galveston Island this 3rd day of April, 2024.



                                     ___________________________
                                     JEFFREY VINCENT BROWN
                                     UNITED STATES DISTRICT JUDGE
